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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                               CRIMINAL ACTION


VERSUS                                                 NO. 14-284


DARREN SHARPER                                         SECTION: “H”


                            ORDER AND REASONS
      Before the Court is Defendant Darren Sharper’s “Notice of Intent to
Appeal” (Doc. 564). Defendant Sharper’s pleading has been filed and processed
as a Notice of Appeal by the Clerk of Court. The court therefore has been
divested of jurisdiction.
      Defendant Sharper in his Notice of Intent to Appeal requested that this
Court order the Clerk to send the entire record to the Fifth Circuit. The record
is electronic and will be accessed by the Fifth Circuit in due course when
Sharper designates the record in accordance with the Rules of Appellate
Procedure. To the extent necessary, it is ORDERED that the request to have
the record sent to the appellate court is DENIED as unnecessary.


                     New Orleans, Louisiana this 12the day of August, 2019.




                                    ____________________________________
                                    JANE TRICHE MILAZZO
                                    UNITED STATES DISTRICT JUDGE




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